Case 1:13-cv-01295-REB-KLM Document 15 Filed 09/06/13 USDC Colorado Page 1 of 7




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Judge Robert E. Blackburn

  Civil Action No. 13-cv-01295-REB-KLM

  UNITED STATES OF AMERICA,

        Plaintiff,

  v.

  NELSON P. TODD, and
  ANDREA W. TODD,

        Defendants.


                      TRIAL PREPARATION CONFERENCE ORDER

  Blackburn, J.

        Pursuant to Fed. R. Civ. P. 16(e), D.C.COLO.LCivR 16.3, and D.C.COLO.LCivR

  43.1, the court enters this Trial Preparation Conference Order.

        IT IS ORDERED as follows:

        1. That in order to resolve pretrial issues implicating Fed. R. Evid. 702, the

  following procedural protocol shall be used:

               a. That expert reports shall conform in substance to the requirements of

  Fed. R. Civ. P. 26(a)(2)(B) and shall contain and include the following:

                      1. a complete statement of each expert opinion to be expressed

  and the bases and reasons therefor;

                      2. the facts, data, and other information considered by the witness

  in forming each expert opinion;

                      3. any exhibits to be used as a summary of or support for each
Case 1:13-cv-01295-REB-KLM Document 15 Filed 09/06/13 USDC Colorado Page 2 of 7




  expert opinion;

                       4. the qualifications of the witness, including a list of all publications

  authored by the witness within the preceding ten years, stated in a curriculum vitae

  (“c.v.”);

                       5. the compensation to be paid the expert for the study and

  testimony; and

                       6. a listing of any other cases in which the witness has testified as

  an expert at trial or by deposition within the preceding four years;

                b. That all motions raising issues under Fed. R. Evid. 702 as codified and

  construed shall be filed by March 19, 2014, and marshaled thereafter as prescribed by

  D.C.COLO.LCiv 7.1C.;

                c. That for each putative expert witness with respect to whom the movant

  objects for any reason, the movant shall provide the following:

                       1. whether the movant contends that the testimony of the expert is

  unnecessary or irrelevant; and if so, why;

                       2. whether the movant objects to the qualifications of the witness;

  and if so, why (stated in detail); and

                       3. whether the movant objects to any opinion to be offered by the

  expert; and if so:

                              a. which opinion; and

                              b. the specific basis and authority for any objection stated

  and presented in terms of Fed. R. Evid. 401 and/or 702(a), (b), (c), or (d), i.e., whether


                                                2
Case 1:13-cv-01295-REB-KLM Document 15 Filed 09/06/13 USDC Colorado Page 3 of 7




  the objection impugns the relevance of the opinion, whether the objection impugns the

  sufficiency of the facts and data used in support of the opinion, whether the objection

  impugns the principles and methods on which the expert relied in support of the opinion,

  or whether the objection impugns how the expert has applied the principles and

  methods reliably to the facts of the case relevant to the opinion; and

                d. That for each putative expert witness whose necessity, qualifications, or

  opinions are opposed by the movant, the party offering the expert shall provide in

  response to the motion the following:

                       1. a c.v. for the expert;

                       2. a statement of each opinion to be offered by the expert that is

  opposed by the movant; and

                       3. the relevance and bases for each allegedly objectionable

  statement to be offered by the expert, including

                              a. the facts or data on which the expert relied in support of

  the opinion made the focus and subject of objection;

                              b. the principles and methods on which the expert relied in

  support of the opinion made the focus and subject of objection; and

                              c. how the expert has applied the principles and methods

  reliably to the facts of the case relevant to the opinion made the focus and subject of

  objection;

         2. That trial to the court shall commence July 28, 2014, at 9:00 a.m., in

  courtroom A1001,on the tenth floor of the Alfred A. Arraj, United States Courthouse


                                                   3
Case 1:13-cv-01295-REB-KLM Document 15 Filed 09/06/13 USDC Colorado Page 4 of 7




  Annex, at 901 19th St., Denver, Colorado 80294, at which all parties shall appear in

  person without further notice, order, or subpoena;

         3. That the court reserves two (2) days for trial;

         4. That counsel and any pro se party shall appear in courtroom A1001 on the first

  day of trial, at 8:00 a.m., to review and discuss with the courtroom deputy clerk and the

  court, if necessary, any final details, arrangements, or requirements concerning the trial;

         5. That a combined Trial Preparation Conference and Final Pretrial

  Conference (conference) shall commence on July 25, 2014, at 3:00 p.m., in courtroom

  A1001;

         6. That the proposed Final Pretrial Order, submitted pursuant to District Court

  ECF Procedure V.5.1, shall be presented for the approval of the court no later than

  seven (7) days before the final pretrial conference, i.e. by July 18, 2014;

         7. That lead counsel and any pro se party shall attend the conference;

         8. That for use and consideration during the conference, the parties shall

  prepare and submit a proposed Final Pretrial Order in the time, manner, and form

  prescribed by D.C.COLO.LCivR 16.3 and the “Instructions Final Pretrial Order” in the

  Local Rules of Practice - Forms at

  http://www.cod.uscourts.gov/CourtOperations/RulesProcedures/Forms.aspx; except

  that the proposed final pretrial order under section “7. EXHIBITS” shall not require the

  parties to the exhibits to be offered by each party as otherwise required under

  subsection “a” (See instead, paragraph 8, infra.), and shall provide under subsection “b”

  that copies of the exhibits must be provided to opposing counsel or any pro se party no


                                                4
Case 1:13-cv-01295-REB-KLM Document 15 Filed 09/06/13 USDC Colorado Page 5 of 7




  later than 45 days before trial and that objections to the exhibits must be served by

  personal delivery, electronic mail, or facsimile no later than 30 days before trial;

         9. That at the outset of the conference, the parties shall submit one Parties’ Joint

  Exhibit List on the form required by the court (an original for the court with copies for the

  courtroom deputy clerk, the court reporter and all other parties) and in addition to the

  information required to be submitted under section “6. WITNESSES” of the final pretrial

  order, each party shall submit on the Witness List form required by the court (an original

  for the court with copies for the courtroom deputy clerk and all other parties) a “will call”

  witness list enumerating the name and address (city or county and state only) of each

  witness that will be called and a “may call” witness list enumerating the name and

  address (city or county and state only) of each witness that may be called; provided,

  furthermore, that the “will call” witness list constitutes a representation on which the

  court and every other party may rely that the witnesses listed will be present and

  available to testify during trial;

         10. That at the conference the parties shall be prepared to review and discuss,

  inter alia, the following:

                 a. the proposed Final Pretrial Order;

                 b. identification of “will call” and “may call” witnesses;

                 c. the estimated time for direct examination of each “will call” witness;

                 d. the pronunciation of problematic party’s and witness’ names;

                 e. use of deposition testimony;

                 f. use of video depositions:


                                                 5
Case 1:13-cv-01295-REB-KLM Document 15 Filed 09/06/13 USDC Colorado Page 6 of 7




                          1. resolution of objections;

                          2. pretrial redaction, if necessary; and

                          3. arrangements for necessary equipment to broadcast the

  deposition;

                  g. issues concerning witnesses and exhibits;

                  h. the allocation of trial time between the parties;

                  i. identification of all persons permitted to be seated at each party’s table

  [Please review Fed. R. Evid. 615];

                  j. the names or monikers that may be used when referring to a party or a

          witness;

                  k. the admission of stipulated exhibits or exhibits about which there are no

  objections;

                  l. anticipated evidentiary issues; and

                  m. requests or requirement for trial briefs;

                  n. security precautions, requirements, or issues;

                  o. training on the uses of courtroom technology; and

                  p. transporting and bringing equipment, models, props, or other property

  into the courthouse and courtroom for the use during trial;1

          11. That trial witnesses subject to sequestration under Fed. R. Evid. 615 shall be

          1
             The court has audio, video, audio-visual, evidentiary presentation, and other special equipment
  that may be used by the parties. A listing of available equipment can be found on the District Court’s
  website at http://www.cod.uscourts.gov/Judges/Judges.aspx under “Courtroom Technology Manual for
  Attorneys.” Arrangements for training on courtroom technology must be made with the courtroom deputy
  clerk, Kathleen Finney, at (303)335-2099, at least 14 days before trial. Notify the courtroom deputy clerk
  no later than fourteen (14) days before the date and time you need such equipment or need your own
  equipment to be brought through security for use in the courtroom.

                                                      6
Case 1:13-cv-01295-REB-KLM Document 15 Filed 09/06/13 USDC Colorado Page 7 of 7




  sequestered by order entered sua sponte immediately before opening statements;

         12. That opening statements shall be limited to thirty (30) minutes per party;

         13. That pursuant to REB Civ. Practice Standard III.B.4.b., each party shall have

  available at trial a set of exhibits for the court, the courtroom deputy clerk, opposing

  counsel (one set per party), and any pro se party;

         14. That unless interrupted by the court, in marshaling motions or objections

  during trial, the following sequential protocol shall be observed: objection, response,

  reply, ruling;

         15. That if permitted, closing argument shall be limited to forty-five (45) minutes

  total for each party; and

         16. That for additional information about courtroom protocol, courtroom

  technology and training, trial preparation, transport of items into the courthouse and

  courtroom, or submission of trial exhibits, the courtroom deputy clerk, Kathleen Finney,

  at (303)335-2099, should be contacted.

         Dated September 5, 2013, at Denver, Colorado.

                                                    BY THE COURT:




                                               7
